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                                 UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF PENNSYL VA1'1A

                   REQUEST FOR MODIFYING THE CONDITIONS OR TER'\1 OF
                    SUPERVISION WITH THE CONSENT OF THE OFFE:SDER
                                          (Probation Form • Waiver of Hearing is Attached)




Offender Name: Colleen R. LaRose                                                             Case No.: 2:10CR000123-001

Name of Sentencing Judicial Officer: The Honorable Petrese B. Tucker

Date of Original Sentence: January 6, 2014

Original Offense: Conspiracy to provide material support to terrorists (Count One); conspiracy to kill in a
foreign country (Count Two); false statements to government officials (Count Three); and attempted
identity theft (Count Four).

Original Sentence: The defendant was committed to the custody of the United States Bureau of Prisons
(BOP) for a total term of ten years, to be followed by a five-year period of supervised release. A $400.00
special assessment was also imposed.

Special Conditions: 1) The defendant shall participate in a mental health program for evaluation and/or
treatment and abide by the rules of any such program until satisfactorily discharged; 2) The defendant
shall abide by the standard conditions of computer monitoring; 3) The defendant shall cooperate in the
collection of D:'.'l'A as directed by the probation officer; 4) The defendant shall refrain from the illegal use
of drugs and shall submit to testing if directed to do so; 5) The defendant shall cooperate in the collection
of DNA as directed by the probation officer; and 6) The defendant shall pay a $2,500.00 fine at the rate of
$50.00 monthly, to commence 30 days after release.

Type of Supervision: Supervised Release                                 Date Supervision Commenced: August 3, 2018

U.S. Attorney's Response:    No Objections IZI            Objections D                       No Response D



                                        PETITIO~ING                THE COURT

Ms. LaRose was released from federal custody on August 3, 2018. As of this writing, the offender does not
have an approved residence as a result of an issue with her boyfriend's landlord. We note that the
offender's boyfriend is the process of moving, and recently advised that this should occur in the coming
weeks. Our plan is to place the offender at the Residential Reentry Center (RRC) as soon as possible until
suitable living arrangements can be made.

On August 6, 2018, the defendant waived her right to a hearing and agreed to the proposed modification
of supervision conditions after discussing the matter with her attorney. It is also noted that Assistant
United States Attorney Jennifer A. Williams voiced no objection to the proposed modification.
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 RE: Colleen R. LaRose
 Case No.: 10-123-01

        To modify the conditions of supervision as follows: That the defendant be placed in a Residential
        Reentry Center (RRC) for a period of up to 90 days, or until such time that a suitable residence
        can be approved by the U.S. Probation Office. While at the RRC, the defendant shall comply with
        all the rules and regulations of the facility.


                                                  Respectfully submitted,

                                                 Matthew R. MacA voy, Chief
                                                 U.S obation Officer


                                                 Adam Peterson
                                                 Sr. U.S. Probation Officer




                                                    pervising U.S. Probation Officer

 AEP
                                                 Date:   c!jJi/;"J>

 ORDER OF THE COURT




 Considered ~ordered this A~ .
           (,                          .s-r,
                        day of rrvr.t:,-ll
)F /./)If( and ordered filed and made part of
 the records in the above case.
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                      UNITED STATES PROBATION OFFICE
                     EASTERN DISTRICT OF PEl'.'NSYLVANIA

  NOTICE OF REQUEST FOR MODIFICATION OF SUPERVISION CONDITIONS

       TO:   Colleen R. LaRose                      CASE NO.: 10-123-01
             (Name)

        This is to notify you that the U.S. Probation Office intends to make a formal
request to the Court that the conditions of supervision be modified as follows:

That the defendant be placed in a Residential Reentry Center (RRC) for a period of
up to 90 days, or until such time that a suitable residence can be approved by the
U.S. Probation Office. While at the RRC, the defendant shall comply with all the
rules and regulations of the facility.

       The reason for this modification and addendum to the conditions of supervision
is:

Ms. LaRose was recently released from federal custody, and as of this writing, she
does not have an approved residence. Our plan is to place Ms. LaRose at the RRC
as soon as possible until suitable living arrangements can be made.

        You are advised that you have the right to a hearing before the Court on the
modification of the conditions of supervision, and that you have the right to be
represented by counsel at such hearing. You also have the right to waive (give up) such a
hearing. You are hereby asked to acknowledge receipt of the "Notice" by signing the
applicable portion on the reverse side of this form and returning the form to your
Probation Officer. If you desire a hearing, you should sign the ACKNOWLEDGMENT
AND REQUEST FOR HEARING portion of the form. If you wish to waive (give up) a
hearing, you should sign the ACKNOWLEDGMENT AND WAIVER portion of the
form. If you request a hearing, you will be notified by this office of the time and place
thereof in due course.

                                     :'.\llatthew R. MacA voy, Chief
                                     U.S. Probation Officer


                                     Adam Peterson                     Date   -W~~o
                                     Sr. U.S. Probation Officer


AEP
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               ACKNOWLEDGMENT AND REQUEST FOR HEARING


              I, Colleen R. LaRose, hereby acknowledge receipt of the Notice of
Request for Modification of the Conditions of Supervision, and request a hearing thereon
with my reasons stated below:




                                    Signed:
                                                                                   (Date)




                ACKNOWLEDGMENT A~D WAIVER OF HEARING


                I, Colleen R. LaRose, hereby acknowledge receipt of the Notice of
Request for Modification of the Conditions of Supervision. I have read the Notice and
understand that I have the right to a hearing before the Court on that request and to the
assistance of counsel at the hearing. However, I hereby waive (give up) my right to a
hearing and agree to the proposed modifications of conditions of supervision. I also
certify that no promises have been made to me in order to induce me to give up my right
to a hearing.



                                    Signed:~~                                     ~-ft; ~1r
                                                                                  (Date)


 WITNESS:




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